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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

BOLTEX MANUFACTURING COMPANY, L.P.,               §
and WELDBEND CORPORATION,                         §
                                                  §
       Plaintiffs,                                §
                                                  §
v.                                                §           CIVIL ACTION H-17-1439
                                                  §
GALPERTI, INC. and OFFICINE NICOLA                §
GALPERTI E FIGLIO S.P.A.                          §
                                                  §
       Defendants.                                §

                                              ORDER

       Pending before the court are defendants Galpterti Inc.’s and Officine Nicola Galperti e Figlio

S.p.A.’s (collectively, “Defendants”) motions to exclude the expert testimony of (1) Thomas Britven

(Dkts. 122, 154); (2) Dana Medlin (Dkts. 124, 152); (3) Thomas Eagar (Dkts. 126, 156); (4) Kristi

Wolff (Dkts. 128, 155); and (5) Seven non-retained experts (Dkts. 148, 157). Defendants also filed

a motion to strike the declaration of Dana Medlin. (Dkt. 223). Also pending are plaintiffs Boltex

Manufacturing Company, L.P. and Weldbend Corporation’s (collectively, “Plaintiffs”) motions to

exclude the expert testimony of (1) Walter Bratic (Dkts. 131, 133); (2) John Slater (Dkts. 134, 135);

(3) Jason Matechak (Dkts. 136, 137); and (4) Michael Rappeport (Dkts. 138, 139). Plaintiffs and

Defendants responded and replied to each motion. Having considered the motions, responses,

replies, and applicable law, the court is of the opinion that each of the motions is DENIED except

as follows:

       1.      Jason Matechak (Dkts. 136, 137) and Kristi Wolff (Dkts. 128, 155)

       The court has reviewed the expert report and testimony of Jason Matechak and finds that the

entirety of Matechak’s report and testimony is an inadmissible legal opinion. See C.P. Interests, Inc.
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v. Cal. Pools, Inc., 238 F.3d 690, 697 (5th Cir. 2001) (holding that expert witnesses may not offer

conclusions of law).

       Similarly, the court provisionally strikes Kristi Wolff’s expert testimony and report for the

same reason.

       2.      John Slater (Dkts. 134, 135)

       The court admits John Slater’s report but excludes any portion relating to the “USA” issues

and misrepresentations. This section of his report constitutes a legal conclusion based on his

interpretation of the FTC guidelines. See C.P. Interests, Inc., 238 F.3d at 697.

       3.      Thomas Britven (Dkts. 122, 154)

       The court admits Thomas Britven’s testimony and his reports but excludes legal conclusions

contained in his report. See C.P. Interests, Inc., 238 F.3d at 697. For example, Britven cannot opine

that “the record contains examples of Defendants’ intent to deceive”. In the context of his report,

“Defendants’ intent” is a factor Plaintiffs need to establish by presenting evidence that will lead the

jury to conclude the factor is met. Britven cannot simply conclude that the factor is met.

       4.      Thomas Eagar (Dkts. 126, 156)

       The court admit Thomas Eagar’s testimony and reports but Eagar cannot attack the other

side’s experts by saying they have “cobbled together criticisms” or they are “looking for nits to

pick.” Additionally, because the court is striking the “USA” issues and representations portion of

Slater’s report, any portion of Eagar’s rebuttal report relating to that is also excluded.




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       5.      Frank Bernobich, Sami Haq, and James Coulas (Dkts. 148, 157)

       The court has reviewed the testimony of Frank Bernobich, Sami Haq, and James Coulas and

determines they are qualified to testify as lay witnesses, and not as non-retained experts.

       Signed at Houston, Texas on June 21, 2019.



                                              ___________________________________
                                                          Gray H. Miller
                                                  Senior United States District Judge




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